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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re:                                                              CHAPTER 11
                                                                    Case No. 08-12666 MG
        PACE PRODUCT SOLUTIONS, INC.,

                                    Debtor
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                    ORDER SCHEDULING INITIAL CASE CONFERENCE

        Pace Product Solutions, Inc. (the "Debtor ") having filed a petition for reorganization
under chapter 11 of the Bankruptcy Code on July 10, 2008, and the Court having determined that
a case management conference will aid in the efficient conduct of the case, it is
        ORDERED, pursuant to 11 U.S.C. § 105(d), that an initial case management conference
will be conducted by the undersigned Bankruptcy Judge in Room ___, United States Bankruptcy
Court, One Bowling Green, New York, New York 10004 on the ______ day of __________,
2008, at _ _: _ _ _.m., or as soon thereafter as counsel may be heard, to consider the efficient
administration of the case, which may include, inter alia, such topics as retention of
professionals, creation of a committee to review budget and fee requests, use of alternative
dispute resolution, timetables, and scheduling of additional case management conferences; and it
is further
        ORDERED, that the Debtor shall give notice by mail of this order at least seven days
prior to the scheduled conference to each committee appointed to serve in the case pursuant to 11
U.S.C. § 1102 (or, if no committee has been appointed, to the holders of the 10 largest unsecured
claims), the holders of the five largest secured claims, any postpetition lender to the Debtor, and
the United States Trustee, and shall promptly file proof of service of such notice with the Clerk
of the Court.

Dated: New York, New York
                    , 2008


                                                              _____________________________________
                                                              UNITED STATES BANKRUPTCY JUDGE
